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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 09-6036-RSR


  UNITED STATES OF AMERICA

  v.

  ANDRE BUDHAN,

                Defendant.
                                       /


                                             ORDER

         This matter comes before the Court upon the Parties’ Joint Stipulation of Satisfaction of

  Nebbia Conditions. Upon review of the Nebbia proffer received from the bondsman on behalf of

  Defendant and stipulated to by the Government, it is hereby ORDERED AND ADJUDGED that

  the Nebbia requirement on Defendant Andre Budhan’s bond is satisfied.

         Done and ordered this 10th day of February, 2009.




                                                     ROBIN S. ROSENBAUM
                                                     UNITED STATES MAGISTRATE JUDGE

  cc:    Counsel of Record
